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Of Attorneys for 15005 NW Cornell LLC

UNITED STATES BANKRUPTCY COURT

DISTRICT OF OREGON

Bankruptcy Case Nos.
In re:
19-31883-dwh11 (Lead Case)
15005 NW CORNELL LLC; and 19-31886-dwh 11

VAHAN M. DINIHANIAN, JR.,

Jointly Administered Under Case No.
Debtors. 19-31883-dwhl 1

DECLARATION OF VAHAN
DINIHANIAN JR.

 

 

I, Vahan M. Dinihanian, Jr. hereby declare the following under penalty of perjury:

L. I am the Debtor in Bankruptcy Case No. 19-31886-pem11. I am also the sol

&

manager of 15005 NW Cornell LLC. (“15005 LLC’), which is the Debtor in Bankruptcy Case

No. 19-31883-dwh1 1.

 

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Page 1 of 4 DECLARATION OF VAHAN M. DINIHANIAN, JR. Motechenbs

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Case 19-31883-dwh11 Doc 574 Filed 01/28/22
ae I make this declaration based on personal knowledge and would testify to the
same if called to do so.

Br 15005 LLC is a single-member Oregon limited liability company. Eagle
Holdings, LLC is the single member of 15005 LLC, holding 100% of the outstanding
membership interest in the LLC. 15005 LLC owns, as a tenant-in-common, a twenty-five
percent interest in approximately 38 acres of unimproved property located at 15005 NW Cornell
Road, Beaverton, Oregon (the “Cornell Property’).

4. I am the manager of 15005 LLC, and I own 100% of the outstanding membership
interest of Eagle Holdings, LLC.

5. Prior to the bankruptcy filings, 15005 LLC’s interest in the Cornell Property jwas
the subject of a nonjudicial foreclosure proceeding initiated by Tasha Teherani-Ami pursuant to
a deed of trust executed in connection with the General Judgment of Dissolution of Marriag¢,
dated February 1, 2016 (the “Divorce Judgment’), entered in Multnomah County Circuit Court
Case Number 1208-68730 (the “Divorce Case’’).

6. Teherani-Ami also initiated a non-judicial foreclosure proceeding against my
personal residence at 237 NW Skyline Dr., Portland, Oregon. Tehrani-Ami held a second-
position deed of trust against my personal residence, and a first-position deed of trust against the
Cornell Property, to secure payment of the money award granted to her under the Divorce
Judgment.

Zz The nonjudicial foreclosure sale of 15005 LLC’s interest in the Cornell Property

 

(the “Foreclosure Sale”) is scheduled to occur on February 9, 2022 at 11:00 am. The amo

   

necessary to cure the obligations owed under the Divorce Judgment is approximately $3,14

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Page 2 0f 4 DECLARATION OF VAHAN M. DINIHANIAN, JR. Maebents

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Case 19-31883-dwh11 Doc 574 Filed 01/28/22
Page 3 of 4 DECLARATION OF VAHAN M. DINIHANIAN, JR.

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(the “Cure Amount”). I understand that the Cure Amount must be paid not later than Febritary

4, 2022 (the “Cure Date’).
8. Prior to the Petition Date and during the pendency of these bankruptcy cases,

have communicated with numerous potential lenders and have been unable to arrange loan t4

for various reasons, primarily due to the tenant in common ownership, the difficulties in
obtaining partition of the property and the ongoing disputes among the tenant in common
members.
a Throughout the pendency of the bankruptcy cases, I have communicated regu
with SORFI, LLC (“SORFT’). SORFI has been willing to lend to the Debtors at various tim
during these cases.

10. |

SORFI is now prepared to lend amounts sufficient to pay the Cure Amount a

avoid the Foreclosure Sale on terms set forth in the Declaration of Samuel J. Ross. SORFI 1

|

only lender that has been willing to proceed with financing to address the amounts due unde
Divorce Judgment.

11. Based on my discussions with SORFI and its principals, I’ve concluded that

obtaining financing from SORFI is the only viable option for 15005 LLC and for me to obtain

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financing sufficient to avoid the Foreclosure Sale, which would result in the loss of the prinyary

asset in the 15005 LLC case and the elimination of any meaningful prospect to repay credit¢
and retain what I believe to be substantial equity value.

12. I have reviewed the Term Sheet and the numerous loan documents attached t
Declaration of Samuel J. Ross and, on behalf of the Debtors, I am prepared to execute them

this Court’s approval.

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Case 19-31883-dwh11 Doc 574 Filed 01/28/22

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13. I believe that the proposed loan terms in the Term Sheet and the other loan
documents are fair and equitable for 15005 LLC and myself and are in the best interest of the
two bankruptcy estates.

14. Following payment of the Cure Amount, | intend to seek this Court’s authority to
sell the entirety of the Cornell Property pursuant to Subsection 363(h) of the Bankruptcy Code in

an orderly sale process to obtain the highest and best value for all joint owners.

I HEREBY DECLARE THAT THE ABOVE STATEMENTS ARE TRUE AND
CORRECT TO THE BEST OF MY KNOWLEDGE AND BELIEF AND UNDERSTAND
THAT IT IS MADE FOR USE AS EVIDENCE IN COURT AND IS SUBJECT TO PENALTY
OF PERJURY IN THE STATE OF OREGON.

Dated: January 28, 2022.

 

By: b.
Vahan M. Dinihanian, Jr., Declarant

 

Page 4 of 4. DECLARATION OF VAHAN M. DINIHANIAN, JR. a Se a Pe
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Case 19-31883-dwh11 Doc 574 Filed 01/28/22
